WILLIAM RITCHIE, JR., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Ritchie v. CommissionerDocket No. 2114.United States Board of Tax Appeals11 B.T.A. 607; 1928 BTA LEXIS 3764; April 16, 1928, Promulgated *3764 William Ritchie, Jr., Esq., pro se.  Benton Baker, Esq., for the respondent.  LANSDON *607  The respondent has asserted a deficiency in income tax for the year 1919 in an amount not disclosed by the record, but the parties agree that tax only in the amount of $35.26 is in controversy.  For his cause of action the petitioner claims the right to deduct a loss of $170 from his gross income for the taxable year.  FINDINGS OF FACT.  Petitioner is a lawyer.  In the year 1917 he was married, had two children, and was practicing his profession at Bridgeport, Nebr.  In that year he enlisted in the military service and became a private soldier in the 134th United States Infantry.  For some time thereafter almost his only income was his pay as an enlisted man in the Army which, at that time, was $30 per month.  Upon beginning the practice of law, petitioner bought two sets of law books, the United States Reports and the Pacific Reporter.  He entered into a contract under which the books were delivered to him to be paid for in monthly installments, with title remaining in the publishing house until all payments were completed.  On account of his enlistment*3765  in the military service and because he had only small means for the support of his family, the petitioner, with the consent of the publishing house, transferred his contract, the books already *608  delivered and certain bookcases to another attorney who agreed to complete the payments.  At the date of such transfer in July, or August, 1917, the petitioner had paid $95 on the books and $75 on the bookcases.  For the property relinquished he received no consideration other than release from his contract obligation to make any further payments to the publishing house.  In his income-tax return for 1919 the petitioner deducted the amount of $170 as a loss.  Upon audit of such return the Commissioner added $170 to the petitioner's income and contends that even if a loss was sustained it is not deductible from income in the taxable year here involved. OPINION.  LANSDON: In the light of the evidence we are of the opinion that the determination of the respondent must be affirmed.  Even if the alleged loss was sustained it is obvious that it is not deductible in the taxable year.  Judgment will be entered for the respondent.